1
                              IN THE UNITED STATES BANKRUPTCY COURT
2                                     FOR THE DISTRICT OF ARIZONA

3
     In re:                                           )       CHAPTER 13 PROCEEDINGS
4                                                     )
                                                      )       CASE NO. # 2: 19-06994-MCW
5                CHRISTINA L. BINGHAM,                )
                                                      )       DISMISSAL ORDER
6                                                     )
                                                      )       Docket #1
7                                      (Debtor(s)     )

8

9           It having been shown to the Court that the Debtor(s) has failed to comply with the Court
     requirement concerning:
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              The debtor has failed to remit any Plan payments to the Trustee since the date
12            this case was filed on June 6, 2019. As required by the Court’s Local Rule 2084-
              10, plan payments are to begin 30 days after the case is filed. Also, on July 10,
13
              2019, the Arizona Department of Revenue filed a 2nd amended proof of claim [#1]
14            listing unfiled for 2018 return and many unfiled TPT tax returns. In addition, on
              July 10, 2019, the Internal Revenue Service filed a proof of claim [#3] listing
15            unfiled 2018 return.

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              Therefore, pursuant to LOCAL RULE 2084-10,
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              IT IS ORDERED THAT:
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     1.       This case is dismissed and the Clerk of the Court will give notice of the dismissal to all creditors;
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22   2.       A Motion to Reinstate the case may be granted without a hearing if the Trustee approves the
23            proposed reinstatement order. If the Trustee does not approve reinstatement of the case, the
              matter may be set for hearing upon the Debtor(s)’ motion. The Court may set a hearing on the
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              Debtor(s)’ motion to reinstate on the request of an interested party who had joined the Trustee’s
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              request for dismissal;
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     3.       Pursuant to 28 U.S.C. §586(e)(2), the Trustee shall be paid his percentage fee from all
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              payments received from the Debtor(s);
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1                                                                      Trustee’s Order Dismissing
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7    4.    If the Court previously entered a payroll deduction order on one or both of the debtors’ wages,
8          then the Court vacates that order; and

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     5.    Except as may be stated herein, all pending adversary proceedings, contested matters, and
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           administrative hearings related to this case are vacated.
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12   6.    Retention of Jurisdiction: The Trustee will retain the Debtor(s) funds pending Court
13         approval of the payment of administrative expenses of the Debtor(s) attorney. If the
           Debtor(s) Chapter 13 Plan contained an Application for Payment of Administrative
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           Expenses to the Debtor(s) attorney and no party filed an objection to the
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           Application, the Debtor(s) attorney may lodge an Order approving the Application
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           within ten days after the Court enters this Dismissal Order. Alternatively, the
17         Debtor(s) attorney has ten days from the Court’s entry of this Dismissal Order to file
18         a separate fee application. If an Order approving the Application or a separate fee
19         application is not filed within ten days, all remaining funds held by the Trustee will

20         be returned to the Debtor(s);

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25                                 ORDER SIGNED ABOVE
      _______________________________________________________________________________
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